             U N I T E D S TAT E S D I S T R I C T C O U RT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION


 Richard Lowery, on behalf of himself           Civil Action No.
 and others similarly situated,                 4:22-cv-3091

                       Plaintiff,
                                                Judge Charles Eskridge
 v.

 Texas A&M University System, et al.,

                       Defendants.


      PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
      Plaintiff Richard Lowery respectfully advises the Court of the Supreme Court’s

recent decision in 303 Creative LLC v. Elenis, No. 21-476 (2023). 303 Creative al-

lowed a Christian website designer to bring a pre-enforcement lawsuit over a public-

accommodations statute that prohibits discrimination on account of sexual orienta-

tion and gender identity, because she feared that the law might be enforced in a man-

ner that would prohibit her from denying services to those seeking a website that

celebrates or promotes same-sex weddings. See slip op. at 2–3. The Court allowed

this pre-enforcement challenge over the dissenting opinion’s objections, see id. at 20,
and it allowed the lawsuit to proceed even though the designer was not yet offering

wedding-related services and had not been threatened or compelled to create an ob-

jectionable website, see id. at 2. 303 Creative supports Mr. Lowery’s claim that he
need not formally apply for a faculty appointment at Texas A&M before suing to

challenge its faculty-hiring practices.

      We have attached a copy of 303 Creative to this notice.



plaintiff’s notice of supplemental authority                                  Page 1 of 3
                                       Respectfully submitted.

                                        /s/ Jonathan F. Mitchell
Gene P. Hamilton                       Jonathan F. Mitchell
Virginia Bar No. 80434                 Attorney in Charge
Vice-President and General Counsel     Texas Bar No. 24075463
America First Legal Foundation         S.D. Tex. Bar No. 1133287
300 Independence Avenue SE             Mitchell Law PLLC
Washington, DC 20003                   111 Congress Avenue, Suite 400
(202) 964-3721 (phone)                 Austin, Texas 78701
gene.hamilton@aflegal.org              (512) 686-3940 (phone)
                                       (512) 686-3941 (fax)
                                       jonathan@mitchell.law

                                       Counsel for Plaintiff and
Dated: July 5, 2023                    the Proposed Class




plaintiff’s notice of supplemental authority                            Page 2 of 3
                         CERTIFICATE OF SERVICE
    I certify that on July 5, 2023, I served this document through CM/ECF upon:

M. Carter Crow
Layne E. Kruse
Paul Trahan
Ryan Meltzer
Jesika Silva Blanco
1301 McKinney, Suite 5100
Houston, Texas 77010-3095
(713) 651-5151 (phone)
(713) 651-5246 (fax)
carter.crow@nortonrosefulbright.com
layne.kruse@nortonrosefulbright.com
paul.trahan@nortonrosefulbright.com
ryan.meltzer@nortonrosefulbright.com
jesika.blanco@nortonrosefulbright.com

Counsel for Defendants

                                         /s/ Jonathan F. Mitchell
                                        Jonathan F. Mitchell
                                        Counsel for Plaintiff and the Proposed Class




plaintiff’s notice of supplemental authority                               Page 3 of 3
